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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION




UNITED STATES OF AMERICA,                            CR-18-14-GF-BMM

             Plaintiff,

      vs.                                                  ORDER

STANLEY PATRICK WEBER,

             Defendant.


      Dow Jones & Company (“Dow Jones”) has filed a motion for leave to

conduct audio and video recording during the trial in the matter of United States v.

Stanley Patrick Weber, CR 18-14-GF-BMM, currently set for August 6, 2018.

Dow Jones seeks the recordings for use in forthcoming documentary examining the

workings of the Indian Health Service. The documentary represents a collaborative

effort between the Wall Street Journal newspaper and the PBS documentary

television series Frontline.

      Dow Jones brings this motion under Local Rule 1.3(d)(2)(G) of the Local
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Rules of the District of Montana, which authorizes a judge to permit photography

and video recording “on special occasions, such as naturalization or investiture

proceedings.” In the alternative, Dow Jones asks that the Court make an audio

recording of the proceeding and make the recording available to Dow Jones

pursuant to Local Rule 1.3(b)(3). The supporting brief filed by Dow Jones does not

cite any federal authority for a district court to allow audio or video recording of a

criminal proceeding for public dissemination. To the contrary, Judiciary policy

expressly prohibits such recordings.

      Judicial Conference policy prohibits the broadcasting, recording, or

photographing of courtroom proceedings for the purpose of public dissemination.

Guide to Judiciary Policy Vol. 10, Ch. 4, § 410.10(a). Federal Rule of Criminal

Procedure 53 prohibits photographing and broadcasting in the courtroom, stating,

“[e]xcept as otherwise provided by a statute or these rules, the court must not

permit the taking of photographs in the courtroom during judicial proceedings or

the broadcasting of judicial proceedings from the courtroom.” As part of the 2002

Amendments to the Criminal Rules, the word “radio” was deleted from Rule 53 to

acknowledge cases “applying the current rule to other forms of broadcasting and

functionally equivalent means.” Advisory Committee Notes to 2002 Amendments

to Rule 53.

      One such case, cited with apparent approval by the Advisory Committee in

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the explanation of the 2002 amendments to Rule 53, is United States v. McVeigh,

931 F. Supp. 753 (D. Colo. 1996), in which the trial court concluded that when the

court relies on a court reporter to keep the official record, the public dissemination

of a concurrently generated electronic sound recording of the proceedings proves

to be the functional equivalent of a broadcast and therefore prohibited under Rule

53. Id. at 755-756. The court in McVeigh had been making electronic recordings

available to news outlets on the same day of the hearing before reconsidering its

position and ending the practice. The court continued to record the proceedings

electronically for internal use, but refused to make the recordings publicly

available. Id. at 756.

      Dow Jones may argue that McVeigh proves distinguishable from the instant

case on the issue of timing. The recordings in McVeigh were disseminated on the

same day. Dow Jones’s brief seems to contemplate that the recordings that it seeks

will not be disseminated until the documentary project has been completed, which

could be weeks or months after the trial. Such an argument proves ultimately

unpersuasive as nothing in Rule 53’s prohibition limits application to “live”

broadcasting, and in fact contains no timing element at all. As the court noted in In

re Sentencing, 219 F.R.D. 262 (E.D.N.Y. 2004), a broadcast is defined as “the ‘act

of making widely known’ or ‘radio or television transmission especially for

general use.’” Id. at 265 (quoting Webster’s Third International Dictionary (1967)).

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      Dow Jones’s citations to Local Rule 1.3 fail to identify a valid exception to

the rules that prohibit recording of criminal proceedings for broadcast. Local Rule

1.3(d)(2)(G) applies to ceremonial proceedings, as is indicated by its reference to

naturalization and investiture proceedings as examples of proceedings for which

photography and video recording may be permitted. This interpretation comports

with Judicial Conference policy:

      A judge may authorize broadcasting, televising, recording, or taking
      photographs in the courtroom and in adjacent areas during investiture,
      naturalization, or other ceremonial proceedings. A judge may
      authorize such activities in the courtroom or adjacent areas during
      other proceedings, or recesses between such other proceedings, only:

             (1) for the presentation of evidence;
             (2) for the perpetuation of the record of the proceedings;
             (3) for security purposes;
             (4) for other purposes of judicial administration;
             (5) for the photographing, recording, or broadcasting of
             appellate arguments; or
             (6) in accordance with pilot programs approved by the Judicial
             Conference.

Guide to Judiciary Policy Vol. 10, Ch. 4, § 420(b). A criminal trial does not prove

to be a “special occasion” as contemplated by Local Rule 1.3(d)(2)(G).

      Judicial Conference policy also prohibits the Court from making a recording

under Local Rule 1.3(b)(3) and providing it to the Wall Street Journal. Local Rule

1.3(b)(3) provides that if the court “has made an electronic sound recording of a

proceeding, a copy of the recording may be obtained from the clerk’s office.” This

rule appears to apply to hearings for which electronic sound recording represents
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the manner of taking the record. Federal law requires the clerk’s office to maintain

a copy of the recording and make it available to the public: “the original notes or

other original records and the copy of the transcript in the office of the clerk shall

be open during office hours to inspection by any person without charge.” 28 U.S.C.

§ 753(b).

      Local Rule 1.3(b)(3) does not apply when a court reporter is present in the

courtroom to take the record. The clerk does not make an electronic sound

recording of the proceeding when a court reporter appears. This interpretation, too,

comports with Judicial Conference-Adopted Commentary: “during non-ceremonial

proceedings, audio and audio-visual recording equipment may be utilized to make

the official record of the proceedings. The authority to use such equipment for the

perpetuation of the record does not include the authority to make a record of the

proceedings for any other purpose.” Guide Vol. 10, Ch. 4, § 430(c) (internal

citation omitted). The commentary goes on to add:

      Except in connection with the enumerated exceptions, the Conference
      policy does not authorize audio or video taping in the courtroom for
      the purpose of subsequent public dissemination. Where an audio or
      video taping is used to perpetuate the official record, that record will
      be available to the public and the media to the same extent that an
      official transcript record is currently available to them.

Id. at § 430(i). Dow Jones’s motion for leave seeks an accommodation specifically

prohibited by Judicial Conference policy and Federal Rule of Criminal Procedure

53. The Defendant has indicated his opposition to the motion.
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      Accordingly, IT IS HEREBY ORDERED that the Motion to Obtain Leave

of the Court to Conduct Audio and Video Recordings of the Proceedings (Doc. 58)

is DENIED.

      DATED this 3rd day of August, 2018.




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